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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

                                           Case No. 8:22-cv-00194
CHAD SHEPPARD,

      Plaintiff,

v.

MRS BPO LLC,

     Defendant.
_______________________________________/

                                 FIRST AMENDED COMPLAINT

      Plaintiff Chad Sheppard (“Plaintiff”) sues Defendant MRS BPO LLC

(“Defendant”) for violations of the Fair Debt Collection Practices Act (“FDCPA”).

                                    JURISDICTION AND VENUE

      1.         Jurisdiction of this Court arises under 15 U.S.C. §1692k(d), 28 U.S.C.

§ 1331, and 28 U.S.C. § 1337.

      2.         Venue in this District is proper because Plaintiff resides here,

Defendant transacts business here, and the complained conduct of Defendant

occurred here.

                                                      PARTIES

      3.         Plaintiff is a natural person, and a citizen of the State of Florida,

residing in County, Florida.


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       4.         Defendant is a New Jersey limited liability company, with its principal

place of business located in Cherry Hill New Jersey 08003.

                                      DEMAND FOR JURY TRIAL

       5.         Plaintiff, respectfully, demands a trial by jury on all counts and issues

so triable.

                                       FACTUAL ALLEGATIONS

       6.         On a date better known by Defendant, Defendant began attempting to

collect a debt (the “Consumer Debt”) from Plaintiff.

       7.         The Consumer Debt is an obligation allegedly had by Plaintiff to pay

money arising from a transaction between the creditor of the Consumer Debt,

SunTrust Bank, and Plaintiff (the “Subject Service”).

       8.         The Subject Service was primarily for personal, family, or household

purposes.

       9.         Defendant is a business entity engaged in the business of soliciting

consumer debts for collection.

       10.        Defendant is a business entity engaged in the business of collecting

consumer debts.

       11.        Defendant regularly collects or attempts to collect, directly or

indirectly, debts owed or due or asserted to be owed or due another.



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      12.       Defendant is registered with the Florida Office of Financial Regulation

as a “Consumer Collection Agency.”

      13.       Defendant’s “Consumer Collection Agency” license number is

CCA0900813.

      14.       Defendant maintains all the records specified in Rule 69V-180.080,

Florida Administrative Code.

      15.       The records specified by Rule 69V-180.080, Florida Administrative

Code, of which Defendant does maintain, are current to within one week of the

current date.

      16.       For example, Defendant maintains and keeps updated within seven (7)

days the records required by, inter alia, Florida Administrative Code Rule

180.080(1), (3), (6), (7), (9), (10), and (11).

      17.       Further, Defendant has written policies and procedures for the secure

handling of all consumer documents and information received in the course of

collecting a debt from a consumer as required by Rule 69V-180.090(2).

      18.       Defendant is a “debt collector” within the meaning of 15 U.S.C. §

1692a(6).

      19.       Defendant is a “person” within the meaning of Fla. Stat. § 559.72.

      20.       On a date better known by Defendant, Defendant transmitted Plaintiff’s

personal information to a third-party (the “Third-Party”).
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        21.     The personal information Defendant transmitted to the Third-Party

included, but was not limited to: [1] Plaintiff’s name; [2] Plaintiff’s address; [3] the

existence of the Consumer Debt; [4] the amount of the consumer debt; [5] the

creditor of the Consumer Debt; [6] that Plaintiff was the alleged debtor of the

Consumer Debt; [7] information regarding the Subject Service; and [8] that Plaintiff

did not pay the Consumer Debt and/or defaulted on the Consumer Debt (collectively,

the “Transmitted Information”).

        22.     The Third-Party, of whom Defendant transmitted Plaintiff’s personal

information to, complied Plaintiff’s personal information and prepared a letter that

was to be sent to Plaintiff in an attempt to collect the Consumer Debt.

        23.     Defendant’s transmission of Plaintiff’s personal information to the

Third-Party was a communication in connection with the collect of the Consumer

Debt.

        24.     In addition to transmitting Plaintiff’s personal information to the Third-

Party, Defendant also transmitted Plaintiff’s personal information to other third-

party entities in connection with the collection of the Consumer Debt. Defendant

transmitted such information to these other third-party entities by, including but not

limited to: [1] utilizing “skip trace” services; [2] utilizing bankruptcy, SCRA,

probate, and other “scrubbing” services; and [3] utilizing independent third-party

contractors to attempt to collect the Consumer debt from Plaintiff.
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      25.     On a date better known by Defendant, Defendant sent the letter

prepared and/or complied by the Third-Party to Plaintiff, of which was internally

dated September 18, 2021, (the “Collection Letter”) in an attempt to collect the

Consumer Debt. Attached as Exhibit “A” is a copy of the Collection Letter.

      26.     Defendant falsely represents the amount of the Consumer Debt as

$623.45 in the Collection Letter.

      27.     Defendant’s transmission of Plaintiff’s personal information to the

Third-Party is an explicit violation of § 1692c(b) of the FDCPA.

      28.     The Collection Letter contains a bar code, discreet tracking numbers,

and/or Quick Response (“QR”) code, of which are indicative of Defendant’s use of

the Third-Party to prepare, print, package, compile, and/or otherwise send the

Collection Letter.

      29.     Defendant knew that the Transmitted Information constituted an

unlawful transmission of Plaintiff’s personal information in violation of § 1692c(b)

of the FDCPA.

      30.     The Third-Party did not have any legitimate need for the Transmitted

Information, as the Transmitted Information constituted an unlawful transmission of

Plaintiff’s personal information in violation of § 1692c(b) of the FDCPA.




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                                      COUNT 1
                            VIOLATION OF 15 U.S.C. § 1692c(b)

      31.      Plaintiff incorporates by reference ¶¶ 6-30 of this Amended Complaint.

      32.      Pursuant to § 1692c(b) of the FDCPA, “a debt collector may not

communicate, in connection with the collection of any debt, with any person other

than the consumer, his attorney, a consumer reporting agency if otherwise permitted

by law, the creditor, the attorney of the creditor, or the attorney of the debt

collector.” 15 U.S.C. 1692c(b) (emphasis added).

      33.      As set forth above, Defendant’s transmission of Plaintiff’s personal

information to the Third-Party violates § 1692c(b) of the FDCPA. See Hunstein, No.

19-14434, 2021 U.S. App. LEXIS 11648 (“[w]e hold (1) that a violation of §

1692c(b) gives rise to a concrete injury in fact under Article III and (2) that the debt

collector's transmittal of the consumer's personal information to its dunning vendor

constituted a communication ‘in connection with the collection of any debt’ within

the meaning of § 1692c(b).”) Accordingly, Defendant violated § 1692c(b) of the

FDCPA when it transmitted Plaintiff’s personal information to the Third-Party.

      34.      WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant, awarding Plaintiff the following relief: [1]statutory

damages as provided by 15 U.S.C. § 1692k; [2] costs and reasonable attorneys’ fees




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pursuant to 15 U.S.C. § 1692k; and [3] any other relief that this Court deems

appropriate under the circumstances.

                                COUNT 2
            VIOLATION OF 15 U.S.C. § 1692g(a)(1) and § 1692e(2)(A)

      35.      Plaintiff incorporates by reference ¶¶ 6-30 of this Amended Complaint.

      36.      Defendant violated § 1692g(a)(1) and § 1692e(2)(A) of the FDCPA by

attempting to collect the alleged Consumer Debt from Plaintiff via the Collection

Letter. Here, the Collection Letter fails to adequately inform the least sophisticated

consumer of the true amount owed to the current creditor and otherwise falsely

represents the character and/or amount of the debt. In short, Defendant failed to

provide an explicit disclosure of accrued and accruing interest the Consumer Debt

is subject to pursuant to the agreement underlying the Consumer Debt.

      37.      As stated above, the Consumer Debt is the sum of the principal portion

of the original debt and, inter alia, the interest and fees added to said principal

pursuant to underlying agreement. With that said, however, the amount that the

creditor of the Consumer Debt is entitled to recover from Plaintiff goes much further.

      38.      Section 1692g(a)(1) of the FDCPA requires that a debt collector send

the consumer a written notice containing “the amount of the debt.” 15 U.S.C. §

1692g(a) (emphasis added). Section 1692e(2)(A) explicitly prohibits “[t]he false




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representation of the character, amount, or legal status of any debt.” 15 U.S.C.

§ 1692e(2) (emphasis added).

      39.      Defendant failed to provide an explicit disclosure of accrued and

accruing interest and fees which the Consumer Debt is subject thereto, and as a

result, the least sophisticated consumer can be misled or confused as to the amount

of the owed. For example, the least sophisticated consumer may erroneously believe

that he or she can fully satisfy the underlying debt by mailing the creditor the full

amount listed on the collection letter Defendant sent to the consumer regardless of

how much time has lapsed.

      40.      Here, the Consumer Debt, pursuant to the agreement underlying the

Consumer Debt, continues to accrue fees and interest, of which is compounded on a

daily or otherwise periodic basis.

      41.      The necessity of information which Defendant omitted from the

Collection Letter was an issue Judge Kathleen M. Williams addressed in Anselmi v.

Shendell & Associates, P.A., stating, in relevant part:

               The Seventh Circuit has offered some guidance regarding
               a debt collector's obligations under 15 U.S.C. §1692g(a).
               See Miller v. McCalla, Raymer, Padrick, Cobb, Nichols,
               & Clark, L.L.C., 214 F.3d 872, 876 (7th Cir. 2000). With
               regard to specifying the amount of the debt owed, the
               Seventh Circuit has held that the following statement
               would satisfy the debt collector's duty to state the amount
               of the debt where the amount may vary day to day: As of
               the date of this letter, you owe $___ [the exact amount
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              due]. Because of interest, late charges, and other charges
              that may vary from day to day, the amount due on the day
              you pay may be greater. Hence, if you pay the amount
              shown above, an adjustment may be necessary after we
              receive your check, in which event we will inform you
              before depositing the check for collection. For further
              information, write the undersigned or call 1–800–[phone
              number]. See Id. at 876. Although a debt collector need
              not use this exact language, using the aforementioned or
              similar language will preclude a debt collector from being
              accused of violating §1692g(a). Id.

2014 WL 5471111 at *3 (S.D. Fla. 2014) (emphasis added).

      42.     Yet, despite Judge Kathleen M. Williams’ clear articulation of safe-

harbor language capable of insulating Defendant from liability, Defendant still chose

to wrongfully conceal necessary and pivotal information from the least sophisticated

consumer. For example, in the Collection Letter, Defendant did not inform the least

sophisticated consumer that the underlying debt was accruing interest; Defendant

did not provide a breakdown of the accrued interest or other fees and instead mislead

the least sophisticated consumer by stating the amount owed as a single sum;

Defendant did not state whether the underlying debt was subject to the accrual of

interest or other charges; Defendant did not state whether the consumer debt had

accrued interest or other charges; Defendant did not state the amount of interest and

other charges that had accrued on the principal portion of the underlying debt;

Defendant did not state how or when the purported amount owed by the consumer

had been calculated; and Defendant failed to advise of the added prejudgment
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interest which the current creditor could also recover from the consumer upon

securing a judgment against the consumer.

      43.     Thus, in light of the forgoing, Defendant violated § 1692g(a)(1) and §

1692e(2)(A) of the FDCPA by failing inform the least sophisticated consumer of the

interest, charges, and/or fees which the underlying debt was and is subject.

      44.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant, awarding Plaintiff the following relief: [1] statutory

damages as provided by 15 U.S.C. § 1692k; [2] costs and reasonable attorneys’ fees

pursuant to 15 U.S.C. § 1692k; and [3] any other relief that this Court deems

appropriate under the circumstances.

      Dated: February 8, 2022

                                                                       Respectfully Submitted,

                                                                        /s/ Thomas J. Patti              .
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                                   CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on February 8, 2022, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system which will

send a notice of electronic filing to all counsel of record.

                                                                         /s/ Thomas J. Patti                            .
                                                                        THOMAS J. PATTI, ESQ.
                                                                        Florida Bar No.: 118377




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